                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WISCONSIN


MICHAEL A. LEE, JR.,

                      Plaintiff,

              v.                                             Case No. 22-cv-0930-bhl

GINA AMBASAN,

                      Defendant.


                                            ORDER


       The Court held a telephone scheduling conference with the parties’ attorneys on February

6, 2024 and now set the following schedule and procedures.

                     FINAL PRETRIAL CONFERENCE AND TRIAL

   1. A final pretrial conference will be held on June 7, 2024 at 10:00 a.m. via Zoom. Motions

       in limine are due 14 days before the final pretrial conference. Responses to motions in

       limine are due 7 days before the final pretrial conference.

   2. Unless otherwise ordered, each party must file a pretrial report at least 14 days before the

       scheduled final pretrial conference. The report must include:

          a. A short summary (not to exceed 2 pages) of the facts, claims, and defenses;

          b. A list of witnesses for each party that includes:

              •    The name and address of each witness expected to testify;

              •    A brief summary of the witness’s testimony;

              •    A time estimate for the witness’s direct examination; and

              •    For each expert witness, a summary of the expert’s background.




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       c. A list of exhibits to be offered at trial that is, where practicable, sequentially

          numbered according to General Local Rule 26;

       d. Designations of any testimony that will be presented through deposition transcripts,

          including a statement indicating whether the testimony will be read to the jury or

          presented by video;

          •   Prior to filing deposition designations, parties must meet and confer to work

              through any potential objections.

          •   To the extent issues cannot be resolved, opposing parties may file objections

              and counter-designations 7 days before the final pretrial conference.

       e. A list of stipulated facts;

       f. If scheduled for a jury trial:

          •   Any proposed voir dire questions;

          •   Proposed jury instructions on substantive issues; and

          •   A proposed verdict form.

       g. If scheduled for a bench trial:

          •   Proposed findings of fact and conclusions of law (see Fed. R. Civ. P. 52).

3. A two-day jury trial will be held beginning on June 17, 2024 at 8:30 a.m. at the United

   States Federal Building and Courthouse, 517 E. Wisconsin Ave. Milwaukee, WI 53202,

   Courtroom 320.

                            ADDITIONAL PROCEDURES

4. All requests of the Court must be made by formal motion in accordance with Civil L. R. 7

   and the Federal Rules of Civil Procedure.




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5. Counsel are to confer and make a good faith effort to settle the case and explore various

   methods of alternate dispute resolution. Settlement discussions must be completed prior

   to the final pretrial conference. In cases where settlement occurs after the final pretrial

   conference, the Court may impose jury-related costs, including notification, travel, and

   attendance fees, upon the responsible attorneys.

6. The foregoing schedule shall not be modified except upon a showing of good cause and by

   leave of the Court. The pendency of motions or settlement discussions shall not justify

   modification of the schedule.

SO ORDERED on February 6, 2024.

                                                s/ Brett H. Ludwig
                                                BRETT H. LUDWIG
                                                United States District Judge




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